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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 TYRIEK GIBSON,
                Plaintiff,                                   21-CV-4251 (GHW) (BCM)
        -against-                                            ORDER
 CITY OF NEW YORK, et al.,
                Defendants.

BARBARA MOSES, United States Magistrate Judge.

       It appears that plaintiff Tyriek Gibson is no longer housed at the Anna M. Kross

Correctional Facility. The Information Package (Dkt. No. 9), this Court's Order Regarding Pretrial

Management (Dkt. No. 10) and this Court's Order dated October 19, 2021 (Dkt. No. 13) were all

returned to sender. The Court has determined through its own research that plaintiff is now in

custody at the Cape Vincent Correctional Facility.

       Plaintiff is reminded that it is his responsibility to update his address with the Court so that

he can timely receive the Court's Orders, as well as documents filed by defendants, and so that he

can comply with his case-related obligations. Should plaintiff move (or be moved) again, he

must promptly send a letter to the Court providing his new mailing address. The Court will

not track him down a second time. If plaintiff fails to update the Court as to his address, fails to

comply with a Court order, or otherwise fails to meet his case-related responsibilities, the Court

could impose a variety of sanctions, including dismissal of this action.

       The deadline for plaintiff to submit a letter providing identifying detail regarding C.O.

Lopez is EXTENDED to December 6, 2021.

       The Clerk of Court is respectfully directed to mail copies of this Order, as well as Dkt. Nos.

9, 10, and 13, to plaintiff at his new address, and to update his address on the docket as follows:
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      Tyriek Gibson
      DIN 21R0500
      Cape Vincent Correctional Facility
      P.O. Box 599
      Cape Vincent, NY 13618-0599


Dated: New York, New York
       November 5, 2021                    SO ORDERED.



                                           ________________________________
                                           BARBARA MOSES
                                           United States Magistrate Judge
